Case 1:09-mc-00020-RB Document 20

Filed 08/01/14 Page1of9

NOTICE OF RENEWAL OF JUDGMENT

Entered February 28, 2012

UNITED STATES DISTRICT COURT
DISTRICT OF NEW MEXICO

ALEJANDRO LOPEZ, a married man in his
sole and separate right,

Plaintiff,
v.

MUSINORTE ENTERTAINMENT
CORPORATION, a New Mexico corporation;
HURACANES, INC., a California corporation;
HERACLIO GARCIA and ROSA GARCIA,
husband and wife; FRANCISCO GARCIA and
IRMA GARCIA, husband and wife; JESUS
GARCIA, a single man; and GUADALUPE
GARCIA, a single man,

Defendants.

NO. 1:09-mc-00020-RB

Attached hereto is a certified copy of the Affidavit of Renewal of the Third Amended

Judgment of the U.S. District Court for the District of Arizona entered February 28, 2012 at

Docket No. 283 (the “Judgment”). The Judgment was renewed by Affidavit of Renewal filed

June 11, 2014 at Document 287. The Judgment is entered in the U.S. District Court for the

District of New Mexico on May 16, 2013 at Document 19.

Please note that Judgment Debtors under the Third Amended Judgment, as stated at page

2 of the Third Amended Judgment, are:

1. Musinorte Entertainment Corporation, a New Mexico corporation
2 Huracanes, Inc., a California corporation

3 Heraclio Garcia and Rosa Garcia, husband and wife

4. Francisco Garcia and Irma Garcia, husband and wife

5 Jesus Garcia, a single man

6 Guadalupe Garcia, a single man
Case 1:09-mc-00020-RB Document 20 Filed 08/01/14 Page 2of9

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Dated: July 2) 2014.

Claimant: AL¥J O LOPEZ, Judgment Creditor
By: VV

tfeld & Battaile P.C.

hn F. Battaile, Vice President
Tucson, Arizona 85701
520-622-7733

Case 1:09-mc-00020-RB Document 20 _ Filed 08/01/14 Page 3of9

Case 4:03-cv-00167-CKJ Document 287 Filed 06/11/14 Page 1 of 7

Alejandro Lopez

163 W. Kino St., Trl. #1
Nogales, AZ 85621
Plaintiff

UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

ALEJANDRO LOPEZ, a married man in | NO. CV-03-167 TUC CKJ
his sole and separate right,

Plaintiff, AFFIDAVIT FOR RENEWAL OF
JUDGMENT
v.

MUSINORTE ENTERTAINMENT
CORPORATION, a New Mexico
corporation; HURACANES, INC., a
fornia corporation; HERACLIO
GARCIA and ROSA GARCIA, husband
and wife; FRANCISCO GARCIA and
IRMA GARCIA, husband and wife;
JESUS GARCIA, a single man; and
GUADALUPE GARCIA, a single man,

Defendants.

Alejandro Lopez, being duly sworn, deposes and states:

1. I am the Plaintiff and Judgment Creditor in the above-captioned United
States District Court action. I make this Affidavit For Renewal of Judgment and
Amendments Thereto (“Affidavit”) pursuant to A.R.S. § 12-1612.

2. Pursuant to A.R.S. § 12-1612(A) I state the following:

Names of the Parties:

Plaintiff and Judgment Creditor: Alejandro Lopez, a married man in his sole and

separate right.

Defendants and Judgment Debtors: Musinorte Entertainment Corporation, a New

Mexico corporation; Huracanes, Inc., a California corporation; Heraclio Garcia and Rosa

eA ti

| hereby, attest as cd certiy on Y Ze

Garcia, husband and wife; Francisco Garcia and Irma Garcia, husband and wife; Jesus

Garcia, a single man; and Guadalupe Garcia, a single man. _ : che Gace vent SEF
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Deputy

Case 1:09-mc-00020-RB Document 20 Filed 08/01/14 Page4of9

Case 4:03-cv-00167-CKJ Document 287 Filed 06/11/14 Page 2 of 7

Name of the Court in which docketed:

The U.S, District Court for the District of Arizona.

The Judgment was entered August 18, 2009 (Docket 242). The Judgment was
amended on October 20, 2009 (the “Amended Judgment”) (Docket 258). The Judgment
was amended on July 30, 2010 (“Second Amended Judgment”) (Docket 273). The
Judgment was amended on February 28, 2012 (“Third Amended Judgment”) (Docket
283).

If recorded, the name of the county in which recorded and date and amount

of the judgment, if recorded:

Roosevelt County, New Mexico (Transcript of Judgment)
Recorded: October 8, 2009

Document No:: 20091338
Amount of Judgment: $1,117,000.00

Kaufman County, Texas (Abstract)
Recorded: October 4, 2010

Volume 3837, Page 540
Amount of Judgment: $1,117,000.00

Pima County, Arizona
Recorded: September 4, 2009

Docket: 13637

Page: 3361

Amount of Judgment: $1,117,000.00
Amendment

Recorded: February 23, 2010

Docket: 13751

Page: 1186

Third Amended Judgment
Recorded: April 26, 2012
Sequence: 20121170586

Amendment
Recorded: May 23,2013
Sequence: 20131431030

Dupage County, Illinois
Recorded: August 30, 2012

No. R2012-119684
Amount of Judgment: $1,117,000.00

-2-

Case 1:09-mc-00020-RB Document 20 Filed 08/01/14 Page5of9

Case 4:03-cv-00167-CKJ Document 287 Filed 06/11/14 Page 3 of 7

Roosevelt County, New Mexico
May 20, 2013

Sequence No. 20131695

Amount of Judgment: $1,117,000.00

Name of owner of the judgment: The owner of the judgment is the Judgment
Creditor, Alejandro Lopez.

3. No execution is anywhere outstanding and unreturned upon the judgment.

4, The date and amounts of all payments upon the judgment are stated on
Exhibit “A” attached hereto and incorporated by reference herein. The total payments are
$326,688.33. All payments have been duly credited upon the judgment.

5. There are no set-offs or counterclaims in favor of the judgment debtors.

6. The exact amount due upon the judgment is $1,045,198.80 as of the date of
this Affidavit, including interest accrued to date. Interest continues to accrue upon the
judgment at the rate established by 28 U.S.C. § 1961 on the date of the judgment, i.e.,
0.17% per annum.

7. This affidavit is based on Affiant’s personal knowledge and the records
kept in the ordinary course of business by Altfeld & Battaile P.C., former attorneys for the

Judgment Creditor, Alejandro Lopez, and not upon information and belief.

Dated Oey OF _, 2014.
Rhpurdes . we

Judgment Creditor

STATE OF ARIZONA _ )

COUNTY OF Sasto.Croe

SUBSCRIBED AND SWORN TO before me this oe day of _Nune_. 2014
by Alejandro Lopez, Judgment Creditor.

SS.

My commission expires:Fayocuacy AY, ZS

-3-

Case 1:09-mc-00020-RB Document 20 Filed 08/01/14 Page 6éof9

Case 4:03-cv-00167-CKJ Document 287 Filed 06/11/14 Page 4 of 7

CERTIFICATE OF SERVICE

I hereby certify that I electronically filed the foregoing with the Clerk of the Court
for the United States District Court on June 11, 2014.

I certify that all participants in the case are registered CM/ECF users and that
service will be accomplished by the CM/ECF system.

/s/ Elena C. Todd
Elena C. Todd

Case 1:09-mc-00020-RB Document 20 Filed 08/01/14 Page 7 of 9

Case 4:03-cv-00167-CKJ Document 287 Filed 06/11/14 Page 5 of 7

EXHIBIT “A”

Case 1:09-mc-00020-RB Document 20

Date
9/2/2011

10/4/2011

10/13/2011
11/4/2011

12/2/2011
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6/8/2012

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8/31/2012

9/5/2012
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Recovery to Date

Lopez v. Musinorte, U.S. District Court

No. CV-03-167 CKJ

Description

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Filed 08/01/14

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Page 8 of 9

Case 4:03-cv-00167-CKJ Document 287 Filed 06/11/14 Page 6 of 7

Case 1:09-mc-00020-RB Document 20

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Page 9 of 9

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Case 4:03-cv-00167-CKJ Document 287 Filed 06/11/14 Page 7 of 7

